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                       IN THE UNITED STATES DISTRICT COURT                                    <H '"• Q
                             FOR THE DISTRICT OF WYOMING

RIA R SQUARED, INC.,
a Delaware corporation,

       Plaintiff,


                                                               Case No. 21-CV-125


PAUL D. MCCOWN, AND
MCCOWN ENTERPRISES, LLC,
a Wyoming Limited Liability Company

       Defendants.




                      FINAL JUDGMENT ON CLAIMS II, III, AND IV


       This matter comes before the Court pursuant to the parties' Stipulated Motion for Entry of

judgment. Having considered the parties' positions, reviewed the record herein, and being otherwise

fully advised, the Court finds no just reason to delay the entry of judgment on Plaintiffs claims of

breach of contract, piercing the corporate veil and fraud.

       Pursuant to the stipulation of the parties, FINAL JUDGMENT is hereby entered in favor

of Plaintiff, RiaR Squared,Inc., and againstDefendants, on the Plaintiffs claims of breach of contract,

piercing the corporate veil and fraud (Claims II, III and IV respectively), in the principal amount of

$2,263,825.84, for which Defendants are joindy and severally liable. Per agreement of the parties,said

principal amount shall accrue post-judgmentinterest at the rate of 5.5% per annum.

       To avoid double recovery, the parties intend for the March 19, 2022 Partial Final

Judgment on Fraud Claim (Doc 78) to merge into this Final Judgment. To further avoid



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